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Attorneys for Petitioner
HAWAII STATE FEDERAL CREDIT UNION

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF HAWATI

UNITED STATES OF AMERICA, CR. NO. 10-00567 HG

)
)
Plaintiff, ) HAWAII STATE FEDERAL CREDIT
) UNION’S PETITION FOR

vs. ) HEARING TO ADJUDICATE THE
) VALIDITY OF ITS INTEREST;
) AFFIDAVIT OF ALLEN

) MURAYAMA; EXHIBITS “A”

)

)

“Cc”; CERTIFICATE OF SERVICE

BRANDON C. HALEAMAU,

Defendant.

HAWAII STATE FEDERAL CREDIT UNION’S
PETITION FOR ADJUDICATION OF INTEREST

COMES now Petitioner Hawaii State Federal Credit Union
(“Petitioner”), by and through its attorneys, WATANABE ING LLP,
and hereby petitions the Court pursuant to 21 U.S.C. § 853(n) (2)
to assert its legal interest in that certain grey 2009 Nissan
GT-R 2-door coupe bearing Vehicle Identification Number

JNIAR54M19M220020 and Hawaii license plate number PWP 795 (the
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“Subject Vehicle”) and requests a hearing to adjudicate the
same. The Subject Vehicle has been ordered for forfeiture to
the United States pursuant to this Court’s Preliminary Order of
Forefiture dated August 1, 2012. The nature and extent of
Petitioner’s right, title and interest in the Subject Vehicle
and the time and circumstances of its acquisition of that right
title, and interest are set forth in this Petition and supported
by the Affidavit of Allen Murayama and the attached exhibits
submitted herewith.

On or about July 26, 2007, Brandon C. Haleamau (“Mr.
Haleamau”) executed that certain Loanliner Open-End Plan
Signatures Plus Credit and Security Agreement (the “Plan”) with
HSFCU. According to the Plan, the parties anticipated that
“from time to time, [Mr. Haleamau] will borrow money (called
‘advances’) under the Plan” for “different types of credit
(called ‘subaccounts’) available under the Plan[.]” A true and
correct copy of the Plan is attached as Exhibit A to the
Affidavit of Allen Murayama.

In conjunction with the same, on or about September 8,
2008, Mr. Haleamau received that certain Auto Loan referenced as
Account No. 88842-L-1 (the "Auto Loan"). As a result of the
Auto Loan, FIFTY THOUSAND DOLLARS ($50,000.00) was disbursed by
HSFCU to Mr. Haleamau for the purchase of that certain 2009

Nissan GT-R, VIN JN1AR54M19M220020 (the “Subject Vehicle”).
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This transaction is evidenced by that certain Loanliner Open-End
Disbursement Receipt Plus agreement dated September 8, 2008 (the
“Auto Loan Contract”). As part of the Auto Loan, HSFCU was
provided with a secured interest in the Subject Vehicle. A true
and correct copy of the Auto Loan Contract is attached as
Exhibit B to the Affidavit of Allen Murayama. Petitioner
continues to be a valid lien holder of the Subject Vehicle and
its security interest has been perfected by notation of
Petitioner’s interest on the certificate of title. A copy of
the Subject Vehicle’s Electronic Title reflecting Petitioner’s
ownership interest is attached as Exhibit C to the Affidavit of
Allen Murayama.

Pursuant to the Auto Loan Contract, Mr. Haleamau
agreed to make monthly payments at the time an in the manner
required by the terms of the Plan. However, Mr. Haleamau
failed, neglected, and refused to make the required monthly
payments and is consequently in default thereunder. Pursuant to
the terms of the Plan and Auto Loan Contract, Petitioner’s
damages include all amounts due thereunder as well as all
reasonable attorneys' fees and costs incurred by Petitioner with
respect to enforcement of the Auto Loan Contract and this
matter.

As of August 22, 2012, Mr. Haleamau owed Petitioner

the following amounts under the Auto Loan:
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Principal: s 28,259.14
Interest (to 08/27/12): 3,086.20
Attorneys’ Fees and Costs: 2,490.05
TOTAL $ 33,835.39

plus continuing interest accruing after August 27, 2012 at the
contract rate of 6.500% per year, $4.9647 per diem.

By reason of said default, Petitioner is entitled to,
among other things, take possession of the Subject Vehicle, sell
the Subject Vehicle, and use the proceeds of the sale towards
the amount Mr. Haleamau owes to Petitioner.

Petitioner had no knowledge that the Subject Vehicle
was or would be involved in any violation of the law.

Petitioner did not participate in the offense or offenses by Mr.
Haleamau, Petitioner did not consent to the commission of the
offense or offenses by Mr. Haleamau, and the commission of the
offense or offenses by Mr. Haleamau violated a covenant of the
Auto Loan which specifically prohibited the use of the Subject
Vehicle for “any unlawful purpose.” See Plan at § 21.
Petitioner is a federal credit union involved with the financing
of the purchase of the Subject Vehicle; Petitioner is not
involved with nor does it have other knowledge of the use of the
Subject Vehicle following the financing at purchase. More
specifically, Petitioner had no knowledge the Subject Vehicle
was involved in a transaction or attempted transaction in

violation of Title 18 USC 1956.
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As discussed above, Petitioner holds a bona fide
security interest in the Subject Vehicle, and Petitioner had no
knowledge and did not consent to the commission of any offense
or offenses by Mr. Haleamau. Mr. Haleamau has defaulted on that
loan with Petitioner, Petitioner is owed money secured by the
Subject Vehicle, and Petitioner is entitled to repossess and
liquidate the Subject Vehicle to pay down the full amount it is
owed by Mr. Haleamau under the terms of the Auto Contract.

WHEREFORE, Petitioner prays that this Court amend its
Preliminary Order of Forfeiture entered in connection with the
Subject Vehicle to reflect Petitioner’s interest in the Subject

Vehicle.

DATED: Honolulu, Hawaii, August 30, 2012.

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JONATHAN W.Y. LAT

TRACEY L. KUBOTA

Attorneys for Petitioner

HAWAII STATE FEDERAL CREDIT UNION

